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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )               8:15CR61
                                             )
       v.                                    )   FINDINGS AND RECOMMENDATION
                                             )
MATTHEW M. LEONARD and                       )                 AND
DAVID E. LEONARD,                            )
                                             )               ORDER
                     Defendants.             )


       At the conclusion of the hearing on September 3, 2015, on the defendants’ motions
to suppress, I stated my conclusions on the record and my decision to recommend that the
motions to suppress be denied. In accordance with that announcement,


       IT IS RECOMMENDED to the Honorable Lyle E. Strom, Senior United States District
Judge, that the motions to suppress (Filing Nos. 36 and 37) be denied as set forth in the
oral Findings and Recommendation as will be reflected in the transcript.


       FURTHER, IT IS ORDERED:
       1.     The clerk shall cause a transcript of the hearing to be prepared and filed.
       2.     Pursuant to NECrimR 59.2 any objection to those Findings and
Recommendations shall be filed with the Clerk of the Court within fourteen (14) days after
the transcript has been filed. Failure to timely object may constitute a waiver of any such
objection. The brief in support of any objection shall be filed at the time of filing such
objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       Dated this 3rd day of September, 2015.


                                         BY THE COURT:
                                         s/ Thomas D. Thalken
                                         United States Magistrate Judge
